Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 1 of 74 PageID #:1189


                                    Exhibit A
Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 2 of 74 PageID #:1190
                                   Exhibit B
Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 3 of 74 PageID #:1191

                                 Exhibit C
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 4 of 74 PageID #:1192
                       Exhibit D

                                                                                         Megan M <megan42@gmail.com>



Re: New Bill from Caesar & Bender, LLP
13 messages

Brad Trowbridge <brad@bradtrowbridge.com>                                                     Mon, Jul 13, 2020 at 12:37 PM
To: Megan Mason <megan42@gmail.com>

 We had a zoom court date of July 6 that I had on my calendar as July 7. That could have only have been for a short time.
 I also don't know how much preparation there could have been. It looks like a lot of activities have been lumped into one
 line item. The next zoom date is July 20 at 9 AM. Anything I need to know?


 On Sun, Jul 12, 2020, 12:25 PM Megan Mason <megan42@gmail.com> wrote:
  Zoom court? What?

   ---------- Forwarded message ---------
   From: Caesar & Bender, LLP <notifications@clio.com>
   Date: Sun, Jul 12, 2020 at 12:18 PM
   Subject: New Bill from Caesar & Bender, LLP
   To: Megan Mason <megan42@gmail.com>




                                                                            Caesar & Bender, LLP




                        Dear Megan Mason,

                        Your bill is ready. You can view it in the attachment.



                        Account summary
                        Amount due on Invoice 4768                                          $455.00
                        Due date: 07/12/2020

                        Amount due on 3 other invoices                                    $1,333.50


                        Total amount due                                                 $1,788.50


                               Pay online now


                        The payment link will expire in 90 days upon receipt.
Case: 1:22-cv-02315Exhibit D Continued
                    Document   #: 39 Filed: 10/03/22 Page 5 of 74 PageID #:1193
                     Exhibit D Continued
Case: 1:22-cv-02315 Document   #: 39 Filed: 10/03/22 Page 6 of 74 PageID #:1194
                                    Exhibit #:
              Case: 1:22-cv-02315 Document  D 39
                                               Continued
                                                 Filed: 10/03/22 Page 7 of 74 PageID #:1195

 On Mon, Jul 13, 2020 at 12:37 PM Brad Trowbridge <brad@bradtrowbridge.com> wrote:
 [Quoted text hidden]


       Response.docx
       13K


Megan Mason <megan42@gmail.com>                                                                              Wed, Jul 22, 2020 at 9:27 AM
To: Brad Trowbridge <brad@bradtrowbridge.com>

 Hi Brad,

 It also occurred to me that there are interactions/issues from the past with Peter that wouldn't necessarily have come to
 your attention but are amply documented. From the time of our separation I have tried to have monthly parenting
 meetings with Peter. He refused to do so, saying that I'm emotionally abusive and he wasn't safe talking to me. The only
 concrete examples are a couple occasions where I've sworn at him. Not yelled, threatened, but said something like, "fuck
 off". I realize name calling is not ideal but I have done it on maybe four occasions and it's not characteristic of how I talk to
 him. I'm not sure how many people could be taken to court six times by someone like Peter and swear that few times.

 I said I was fine with him doing whatever he needed to do to feel safe but I would not do meetings in therapy, which is not
 the appropriate setting. Organizing a carpool is not a clinical issue. This is really the root of his obsession with forcing me
 into paid therapy, mediation, coaching, etc..

 I've offered to Peter to:
 *Meet or call with him and his attorney so his attorney can protect him from any mistreatment or note it for further action.
 *I've offered to do all our meetings over video so that he could record and address any safety concerns.
 *To meet with him and one of his friends, his own therapist or anyone else who would support him

 Peter has only agreed to meet with me once. Subsequently there have been no regular meetings or calls and h s steady
 flow of litigation. Obviously I appear (am) extremely rigid about this issue, but it has to be this way. The only goal of these
 encounters s is to inflict financial harm, to engage and provoke me or to get another party to order me to do something I
 have intelligently, calmly and rightfully declined to do.

 M
 [Quoted text hidden]



Brad Trowbridge <brad@bradtrowbridge.com>                                                                    Tue, Jul 28, 2020 at 10:26 AM
To: Megan Mason <megan42@gmail.com>

 Megan

 I tried to draft a response to Peter's petition but found it too time-consuming and confusing. Please go through each
 paragraph and address each allegation in a paragraph. Many of your answers raise problems co-parenting with Peter but
 you don't really address the truth of each allegation in the paragraph. We can add the problems with Peter but we have to
 admit or deny each allegation he raises.

 Thanks
 Brad

 Brad Trowbridge
 The Law Offices of Bradley R. Trowbridge
 3257 N. Sheffield Suite 104
 Chicago, IL 60657
 P: 773-784-9900
 E: brad@bradtrowbridge.com

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 The information contained in this communication is confidential and may be legally privileged. If you are not the intended recipient
 you are notified that any disclosure, copying, distribution or taking action based on the contents is strictly prohibited. If you received
 this communication in error, please immediately notify us at (773) 784-9900.

 [Quoted text hidden]
                             Exhibit
              Case: 1:22-cv-02315    D Continued
                                  Document  #: 39 Filed: 10/03/22 Page 8 of 74 PageID #:1196
Megan Mason <megan42@gmail.com>                                                                    Thu, Jul 30, 2020 at 2:13 PM
To: Brad Trowbridge <brad@bradtrowbridge.com>

 I'm sorry, Brad. Will try to provide more detail. I do have a lot of evidence, but have not seen what he's presenting and
 don't want to get too involved in digging through emails if it's not necessary.
 [Quoted text hidden]
  Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 9 of 74 PageID #:1197
                             EXHIIBIT E


                              THE LAW OFFICES OF
                    BRADLEY R. TROWBRIDGE
                    3257 NORTH SHEFFIELD AVENUE, SUITE 104
                            CHICAGO, ILLINOIS 60657

INVOICE: MEGAN MASON
 DATE      EE    ACTIVITY        DESCRIPTION        RATE    HOURS       LINE
                                                                       TOTAL
 6/13/19   BT     Payment
Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 10 of 74 PageID #:1198
                         Exhibit E Continued




3/10/20   BT   Time Charge   Review Petition for Rule   $300.00   .10    -$30.00
                             to Show Cause
                BALANCE                                                 $200.00
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 11 of 74 PageID #:1199
                                                Exhibit F

                                                                       Megan M <megan42@gmail.com>



Court
1 message

Megan Mason <megan42@gmail.com>                                             Mon, Jul 20, 2020 at 2:46 PM
To: Brad Trowbridge <brad@bradtrowbridge.com>

 Hi Brad,
 Did Michael make a motion to be removed? Anything filed against me?
 M
  Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 12 of 74 PageID #:1200

                                         EXHIBIT G

                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

IN RE: THE MARRIAGE OF
PETER MATT,
                                             )
                                             )                                          ..            • vli, "'-··
      Petitioner,                            )
                                             )       Case No. 2016 D 9534
       and
                                                                                          .. ..., .
                                             )
                                             )
MEGAN MATT,                                  )
    Respondent.                              )

                                                 ORDER

        This cause coming before the Court for a continued case status hearing, status on Peter
Matt's Motion to Quash Subpoena to Swanson, Maitin & Bell, and Megan Matt's presentment of i)
Motion to Modify Custody; ii) Petition for Rule to Show Cause as the childcare and safety; iii)
Petition for Rule to Show Cause as to harassment iv) Petition for Rule to Show cause as to use of
residence, both parties appearing remotely, Peter Matt appearing with counsel, and the Guardian Ad
Litem appearing, and the Court hearing argument and further being advised,

       IT IS HEREBY ORDERED:

I. Megan Matt shall tender to Peter Matt (though counsel) and the GAL electronic copies of each
   motion and the exhibits identified above in individual subfolders, with each individual subfolder
   in an electronic folder so that each motion has only the exhibits that have been filed and served
   from time to time, with seven (7) days.

2. Peter Matt shall respond to the pleadings set forth in Paragraph 1 within twenty-eight (28) days.

3. Peter Matt's Motion to Quash Subpoena to Swanson, Martin & Bell is entered and continued to
   the next court date.

4. This matter is set for status on the GAL's investigation and rep01t on pa1ties consideration of a
   604.10(b) on May 24, 2021 at 10:00 a.m.

Counsel for Petitioner: cwehrman@smbtrials.com
Counsel for Respondent: mcgan42@gmail.com
GAL: mbender@caesarbenderlaw.com



#29558
Christopher D. Weluman (cwehrman(Zv,smbtrials.com)
Swanson, Martin & Bell, LLP
330 N. Wabash #3300
Chicago, IL 60611
312/321-9 I 00
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 13 of 74 PageID #:1201
                                              Exhibit H

                                                                                          Megan M <megan42@gmail.com>



IRMO Matt; 2016 D 9534; COURT ORDER
John Palen <jpalen@johnpalenphd.com>                                                    Sat, Dec 5, 2020 at 1:53 PM
To: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>, Megan Mason <megan42@gmail.com>,
Christopher Wehrman <cwehrman@smbtrials.com>
Cc: Laura Fried <lfried@smbtrials.com>, Michael I Bender <mbender@caesarbenderlaw.com>


 I want to be paid. It is as simple as that




 JOHN M. PALEN, PH.D., LCSW

 http://www.johnpalenphd.com



        Psychotherapy with Older Children, Adolescents, Adults and Families



        Therapy with Children Resisting Contact with a Parent



        Co-Parenting Counseling



        Parenting Plan Consultation/Child Custody Evaluation



        Individual and Family Counseling with Members of the LGBTQ Community and their Families.



        Consultation with Men attempting to become better Partners, Husbands and Fathers




 5225 Old Orchard Road, Suite One

 Skokie, Illinois 60077

 T: 847-967-1695



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 information sent by email. Nevertheless, this message (including attachments) is covered by the Electronic
 Communications Privacy Act, 18 U.S.C. 2510-2521, is intended to be confidential, and may be privileged. If you are
 not the intended recipient, please be aware that any retention, dissemination or distribution is prohibited, . Please reply
 to sender if you have received this message in error, then kindly delete it. Thank you for helping to maintain privacy.
             Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 14 of 74 PageID #:1202
                                               Exhibit I

                                                                                          Megan M <megan42@gmail.com>



IRMO Matt; 2016 D 9534; COURT ORDER
John Palen <jpalen@johnpalenphd.com>                                                    Sat, Dec 5, 2020 at 1:58 PM
To: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>, Megan Mason <megan42@gmail.com>,
Christopher Wehrman <cwehrman@smbtrials.com>
Cc: Laura Fried <lfried@smbtrials.com>, Michael I Bender <mbender@caesarbenderlaw.com>


 Sorry- this was meant for another case. I had not noticed Ms. Mason on the list of recipients.



 Regards,


 John Palen

 [Quoted text hidden]
Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 15 of 74 PageID #:1203
                            EXHIBIT J
Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 16 of 74 PageID #:1204
                                    Exhibit J Continued
             Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 17 of 74 PageID #:1205

                                                       EXHIBIT K
                                                                                           Megan M <megan42@gmail.com>



Invoice
Megan Mason <megan42@gmail.com>                                                                 Wed, Apr 15, 2020 at 10:31 AM
To: Brad Trowbridge <brad@bradtrowbridge.com>

 Hi Brad,

 I hope you're well and your clients are not suffering too badly from the quarantine. I'm personally quite pleased that no
 motions are being filed right now, a nice break =).

 Please run the attached cc for the $200 balance.

 Thanks,
 Megan
 [Quoted text hidden]
             Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 18 of 74 PageID #:1206

                                              Exhibit L
                                                                                                      Megan M <megan42@gmail.com>



Invoice
Brad Trowbridge <brad@bradtrowbridge.com>                                                                  Wed, Apr 15, 2020 at 11:19 AM
To: Megan Mason <megan42@gmail.com>

 Hi Megan. Yes, unfortunately, it took a pandemic to stop Peter's legal abuse of you! I don't think there's a cc attached
 unless there's a glitch on my end. Stay well!

 Brad Trowbridge
 The Law Offices of Bradley R. Trowbridge
 3257 N. Sheffield Suite 104
 Chicago, IL 60657
 P: 773-784-9900
 E: brad@bradtrowbridge.com

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 this communication in error, please immediately notify us at (773) 784-9900.

 [Quoted text hidden]
              Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 19 of 74 PageID #:1207
                                   EXHIBIT M

                                                                                                                          Megan M <megan42@gmail.com>



Subpoena and Transfer Order
2 messages

Megan Mason <megan42@gmail.com>                                                                                         Thu, Feb 17, 2022 at 10:06 AM
To: "CCC DomRelCR2108 (Chief Judge's Office)" <ccc.domrelcr2108@cookcountyil.gov>
Cc: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>, Christopher Wehrman <cwehrman@smbtrials.com>, "Brianna Steger (Chief
Judge's Office)" <brianna.steger@cookcountyil.gov>, civilrights@ilag.gov, CivilRightsDivision@usdoj.gov, aemmanuel@injusticewatch.org

 Dear Ms. Mason,

 I have submitted a document subpoena, awaiting a stamp, to yourself personally to disclose emails with Christopher Wehrman, conducted on computer
 servers owned by the people of Cook County, which ought legally to be disclosed to me according to the rules of ex parte communication and which are
 specifically requested in support of my pending motion to transfer venue. These subpoenas have also been sent to the Circuit Court of Chicago and to
 the Clerk of the Circuit Court of Chicago.

 Both the requested documents and the Motion to Transfer require urgent consideration in the interest of justice. Judge Johnson, due to his relationship
 with you, cannot be asked to consider the subpoena. And further, Motions to transfer are heard by Presiding Judge Grace Dickler. To that end, I am
 also attaching an order for Judge Johnson to enter, transferring this case to Judge Dickler's calendar.

 I appreciate your timely support in this matter. I'm sure we all want to maintain the dignity of the court and it would be impossible to do so without first
 addressing my urgent appeal for justice as presented in the Motion for Transfer and addressing my heretofore unmet right to transparency in
 communications between Mr. Wehrman, yourself, and Judge Johnson. If there is any question of legality, I insist on my constitutionally protected right to
 have legal questions heard in open court.

 Kind Regards,
 Megan Mason




  2 attachments
      Transfer order.pdf
      520K
      Mason Subpoena .pdf
      411K


postmaster@smbtrials.com <postmaster@smbtrials.com>                                                                             Thu, Feb 17, 2022 at 10:07 AM
To: megan42@gmail.com




 Your message to cwehrman@smbtrials.com couldn't be delivered.

    Security or policy settings at smbtrials.com have
                 rejected your message.
  megan42                                  Office 365                           smbtrials.com
  Sender                                                                       Action Required

                                                                      Security or policy violation


     How to Fix It
     The recipient's email server rejected your message because it appears
     to violate a security or policy setting the recipient's email admin has set
     up. A common reason for rejection is that your message might have
     been suspected as spam. To try to fix this issue, try one or more of the
     following:

           Modify your message, or change how you're sending the
           message, using the guidance in this article: Bulk E-mailing Best
           Practices for Senders Using Forefront Online Protection for
           Exchange. Then resend your message.
             Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 20 of 74 PageID #:1208
                               EXHIBIT N

                                                                                         Megan M <megan42@gmail.com>



Matt/Mason 2016 D 9534
CCC DomRelCR2108 (Chief Judge's Office) <Ccc.Domrelcr2108@cookcountyil.gov>      Fri, Feb 18, 2022 at 2:58 PM
To: Justyn Brodacz <JBrodacz@caesarbenderlaw.com>
Cc: Megan Mason <megan42@gmail.com>, "Christopher D. Wehrman" <CWehrman@kgwlaw.com>, Michael I Bender
<mbender@caesarbenderlaw.com>

 Good afternoon

 The court would like you to check your availability to log on briefly on Tuesday
 February 22, 2022 at 9:00 am regarding the captioned case.

 Kindly advise




 CALENDAR 23, COURTROOM 2108 Daley Center
 HOURS OF OPERATION: 8:30 am to 4:30 pm MONDAY THROUGH FRIDAY
 Emails received outside of these hours will be responded to on the next business day.

 EMAIL COMMUNICATION to court personnel and judges shall be limited to scheduling and administrative purposes
 and shall not include information relating to the substantive matters or the issues on the merits. If email communication
 includes any language that could be construed as impermissible ex parte communication, neither court personnel nor
 judges will respond to the email.




 From: Justyn Brodacz <JBrodacz@caesarbenderlaw.com>
 Sent: Monday, February 7, 2022 12:02 PM
 To: CCC DomRelCR2108 (Chief Judge's Office) <Ccc.Domrelcr2108@cookcountyil.gov>
 Cc: Megan Mason <megan42@gmail.com>; Christopher D. Wehrman <CWehrman@kgwlaw.com>;
 Michael I Bender <mbender@caesarbenderlaw.com>
 Subject: Matt/Mason 2016 D 9534


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 [Quoted text hidden]
             Case: 1:22-cv-02315 Document
                           EXHIBIT O      #: 39 Filed: 10/03/22 Page 21 of 74 PageID #:1209


                                                                               Megan M <megan42@gmail.com>



Matt/Mason 2016 D 9534
Megan Mason <megan42@gmail.com>                                                    Fri, Feb 18, 2022 at 4:39 PM
To: "CCC DomRelCR2108 (Chief Judge's Office)" <Ccc.Domrelcr2108@cookcountyil.gov>
Cc: "Christopher D. Wehrman" <CWehrman@kgwlaw.com>, Justyn Brodacz <JBrodacz@caesarbenderlaw.com>, Michael I
Bender <mbender@caesarbenderlaw.com>

 Hi, I’m unavailable. Please propose something after February 28th.

 Regards,
 Megan Mason
 [Quoted text hidden]
                 Case: 1:22-cv-02315 Document
                                  EXHIBIT P #: 39 Filed: 10/03/22 Page 22 of 74 PageID #:1210

                                                                                                                      Megan M <megan42@gmail.com>



On Vacation Re: Matt/Mason 2016 D 9534
5 messages

Megan Mason <megan42@gmail.com>                                                                                               Fri, Feb 18, 2022 at 2:58 PM
To: Ccc.Domrelcr2108@cookcountyil.gov

 Thanks for your note. I'm on vacation between February 18th and February 27th and will have limited access to email. Please write back or call after
 February 27th if any response is needed.

 Thanks,
 Megan



CCC DomRelCR2108 (Chief Judge's Office) <Ccc.Domrelcr2108@cookcountyil.gov>                                     Fri, Feb 18, 2022 at 3:16 PM
To: Megan Mason <megan42@gmail.com>
Cc: Christopher Wehrman <cwehrman@smbtrials.com>, Michael I Bender <mbender@caesarbenderlaw.com>, Justyn Brodacz
<JBrodacz@caesarbenderlaw.com>

 Good afternoon Ms Mson:

 As this will be via zoom and not in person, the court is requesting that you log on at the requested time




 CALENDAR 23, COURTROOM 2108 Daley Center
 HOURS OF OPERATION: 8:30 am to 4:30 pm MONDAY THROUGH FRIDAY
 Emails received outside of these hours will be responded to on the next business day.

 EMAIL COMMUNICATION to court personnel and judges shall be limited to scheduling and administrative purposes and shall not include
 information relating to the substantive matters or the issues on the merits. If email communication includes any language that could be construed as
 impermissible ex parte communication, neither court personnel nor judges will respond to the email.




 From: Megan Mason <megan42@gmail.com>
 Sent: Friday, February 18, 2022 2:58 PM
 To: CCC DomRelCR2108 (Chief Judge's Office) <Ccc.Domrelcr2108@cookcountyil.gov>
 Subject: On Vacation Re: Matt/Mason 2016 D 9534


                                                            External Message Disclaimer
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                                                      or responding to this email.

 [Quoted text hidden]



CCC DomRelCR2108 (Chief Judge's Office) <Ccc.Domrelcr2108@cookcountyil.gov>                                     Fri, Feb 18, 2022 at 3:16 PM
To: Megan Mason <megan42@gmail.com>
Cc: Christopher Wehrman <cwehrman@smbtrials.com>, Michael I Bender <mbender@caesarbenderlaw.com>, Justyn Brodacz
<JBrodacz@caesarbenderlaw.com>

 My apologies

 Ms. Mason




 CALENDAR 23, COURTROOM 2108 Daley Center
          Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 23 of 74 PageID #:1211
EMAIL COMMUNICATION to court personnel and judges shall be limited to scheduling and administrative purposes and shall not include
information relating to the substantive matters or the issues on the merits. If email communication includes any language that could be construed
as impermissible ex parte communication, neither court personnel nor judges will respond to the email.




From: Megan Mason <megan42@gmail.com>
Sent: Friday, February 18, 2022 2:58 PM
To: CCC DomRelCR2108 (Chief Judge's Office) <Ccc.Domrelcr2108@cookcountyil.gov>
Subject: On Vacation Re: Matt/Mason 2016 D 9534


                                                          External Message Disclaimer
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                                                  links, or responding to this email.

Thanks for your note. I'm on vacation between February 18th and February 27th and will have limited access to email. Please write back or call after
February 27th if any response is needed.

Thanks,
Megan
          Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 24 of 74 PageID #:1212
                                            EXHIBIT Q

                                                                                        Megan M <megan42@gmail.com>



Re: MATT 16 D 9534 Request for Hearing Date
8 messages

Kaye Mason (Chief Judge's Office) <kaye.mason@cookcountyil.gov>                             Thu, May 27, 2021 at 12:56 PM
To: Megan Mason <megan42@gmail.com>
Cc: Christopher Wehrman <cwehrman@smbtrials.com>

 Hi again

 Please remember to include your case name and number on all submissions to the
 court.

 The first available hearing date is July 27 at 11 am. Kindly advise of your availability




 Kaye Mason, Coordinator
 Calendar 23 - Judge Robert W. Johnson
 Domestic Relations Division

 EMAIL COMMUNICATION to court personnel and judges shall be limited to scheduling and administrative purposes
 and shall not include information relating to the substantive matters or the issues on the merits. If email communication
 includes any language that could be construed as impermissible ex parte communication, neither court personnel nor
 judges will respond to the email.




 From: Megan Mason <megan42@gmail.com>
 Sent: Thursday, May 27, 2021 12:41 PM
 To: Kaye Mason (Chief Judge's Office) <kaye.mason@cookcountyil.gov>
 Cc: Christopher Wehrman <cwehrman@smbtrials.com>; DomesticRelDiv Services (Circuit Court)
 <DomesticRelDivservices@cookcountycourt.com>
 Subject: Re: Hearing Date


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                           attachments, clicking links, or responding to this email.

 Hi Ms. Mason,

 Thanks for your response. I have served OC, OC has responded, I have responded to the affirmative defense. I am
 copying Mr. Wehrman here as I believe we are at this step:

 "After the time to reply expires, the movant shall submit the non-emergency motion and any responses
         Case: 1:22-cv-02315 DocumentEXHIBIT Q Continued
                                      #: 39 Filed: 10/03/22 Page 25 of 74 PageID #:1213
and replies to the Circuit Court (along with all necessary and referenced exhibits) via e-mail
transmission with all counsel of record or self-represented parties included as recipients of the e-mail
to the following individuals at the date that time to reply expires:
the Court Coordinator for any judge who maintains an individual calendar, or
i. the Division Administrator for any judge who does not have a Court Coordinator, or;
ii. any other method directed by the judge assigned to the matter."

May I please have a date to present the pleadings?

Thanks,
Megan Mason



On Thu, May 27, 2021 at 12:25 PM Kaye Mason (Chief Judge's Office) <kaye.mason@cookcountyil.gov> wrote:
  Good afternoon Ms Mason

  Please be guided by the attached Administrative Order for guidelines on requesting
  dates for newly filed Motions

  Best,




  Kaye Mason, Coordinator
  Calendar 23 - Judge Robert W. Johnson
  Domestic Relations Division

  EMAIL COMMUNICATION to court personnel and judges shall be limited to scheduling and administrative purposes
  and shall not include information relating to the substantive matters or the issues on the merits. If email
  communication includes any language that could be construed as impermissible ex parte communication, neither
  court personnel nor judges will respond to the email.




  From: Megan Mason <megan42@gmail.com>
  Sent: Thursday, May 27, 2021 12:16 PM
  To: Kaye Mason (Chief Judge's Office) <kaye.mason@cookcountyil.gov>
  Cc: DomesticRelDiv Services (Circuit Court) <DomesticRelDivservices@cookcountycourt.com>
  Subject: Hearing Date


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                       opening attachments, clicking links, or responding to this email.

  Hi Ms. Mason,

  I would like a date to present three petitions and one motion to Judge Johnson and to schedule a hearing date.
  Attached are the petitions and motion, responses from OC and my responses to OC. These matters are separate from
  other issues being brought for status in the near future and related to ongoing, clear violation of the parenting plan, so I
  would greatly appreciate the opportunity to present them and set a trial in the near future.
             Case: 1:22-cv-02315 Document #: 39 EXHIBIT Q COntinued
                                                Filed: 10/03/22 Page 26 of 74 PageID #:1214
    Does Judge Johnson have any availability the week of June 7?

    Kindly,
    Megan Mason
    2016 D


Megan Mason <megan42@gmail.com>                                                                        Thu, May 27, 2021 at 1:06 PM
To: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>
Cc: Christopher Wehrman <cwehrman@smbtrials.com>

 Hi Ms. Mason,

 Yes, July 27 at 11am is great for me. I will provide notice to Mr. Wehrman and Mr. Bender.

 Kindly,
 Megan Mason
 [Quoted text hidden]



Christopher Wehrman <cwehrman@smbtrials.com>                                        Thu, May 27, 2021 at 1:08 PM
To: Megan Mason <megan42@gmail.com>, "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>
Cc: Michael I Bender <mbender@caesarbenderlaw.com>


 Kaye:


 When we were before the Judge on Monday, he appointed at 604 evaluator and set everything for status on
 July 13, 2021. I do not believe Judge Johnson is having any hearings on this case at this time.


 Chris


 Christopher D. Wehrman | Partner
 Swanson, Martin & Bell, LLP
 330 N. Wabash #3300
 Chicago, IL 60611
 Office: 312/321-9100
 Direct: 312/222-8534
 Fax: 312/321-0990
 [Quoted text hidden]




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             Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 27 of 74 PageID #:1215
                                                           EXHIBIT Q Continued

Kaye Mason (Chief Judge's Office) <kaye.mason@cookcountyil.gov>                 Thu, May 27, 2021 at 1:15 PM
To: Christopher Wehrman <cwehrman@smbtrials.com>, Megan Mason <megan42@gmail.com>
Cc: Michael I Bender <mbender@caesarbenderlaw.com>

 The judge is in a hearing but I will verify before the end of the day




 Kaye Mason, Coordinator
 Calendar 23 - Judge Robert W. Johnson
 Domestic Relations Division

 EMAIL COMMUNICATION to court personnel and judges shall be limited to scheduling and administrative purposes
 and shall not include information relating to the substantive matters or the issues on the merits. If email communication
 includes any language that could be construed as impermissible ex parte communication, neither court personnel nor
 judges will respond to the email.




 From: Christopher Wehrman <cwehrman@smbtrials.com>
 Sent: Thursday, May 27, 2021 1:08 PM
 To: Megan Mason <megan42@gmail.com>; Kaye Mason (Chief Judge's Office)
 <kaye.mason@cookcountyil.gov>
 Cc: Michael I Bender <mbender@caesarbenderlaw.com>
 Subject: RE: MATT 16 D 9534 Request for Hearing Date

 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                     Thu, May 27, 2021 at 1:53 PM
To: Christopher Wehrman <cwehrman@smbtrials.com>
Cc: Michael I Bender <mbender@caesarbenderlaw.com>
Bcc: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>

 Confirming the July 27 hearing and notice was just filed.

 I believe it's unfair to Ms. Mason to include her in arguments between parties, which she has explicitly asked us not to do.
 So dropping Ms. Mason to bcc. But I do wish to confirm that I have filed notice before receiving this communication and
 plan to have my pleadings heard at that date and time.

 Mr. Wehrman, I think you are able to move to dismiss, counter the motions, or use any variety of methods to oppose my
 pleadings. I believe you and Mr. Bender must be aware that these are prima facie matters. Put simply: He did it. Over and
 over again. It's not ok to try to intimidate me into not accessing due process.

 1. I do not recall my pleadings being dismissed or ruled upon at the least court status. They are legitimate and I am
 entitled to due process.

 2. The custody evaluation process would not change the fact that one party or another violated the parenting plan prior to
 the custody evaluation process so this is a separate issue. If a party violated the parenting plan at the time, that's a
 violation. Future modifications do not change past violations.

 3. It would be extremely prejudicial to the custody evaluation process to impede one party from filing a pleading so as to
 hide the other parties extensive misconduct. Given that I am pro se and openly opposed to Mr. Bender's outsized
 influence on this case, it's in everyone's best interest that a semblance of fairness and objectivity is maintained. If I'm not
 allowed to tell the truth, how can I possibly believe in the legitimacy of these proceedings?
             Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 28 of 74 PageID #:1216
                                                  EXHIBIT Q Continued

 Megan


 [Quoted text hidden]



Kaye Mason (Chief Judge's Office) <kaye.mason@cookcountyil.gov>                 Thu, May 27, 2021 at 2:10 PM
To: Megan Mason <megan42@gmail.com>, Christopher Wehrman <cwehrman@smbtrials.com>
Cc: Michael I Bender <mbender@caesarbenderlaw.com>

 Ms Matt

 I just spoke with Judge Johnson and he has indicated that he will not be hearing any
 other issues on this case until he has heard from the evaluator.

 Please be guided accordingly.
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                    Thu, May 27, 2021 at 2:22 PM
To: "Kaye Mason (Chief Judge's Office)" <kaye.mason@cookcountyil.gov>
Cc: Christopher Wehrman <cwehrman@smbtrials.com>, Michael I Bender <mbender@caesarbenderlaw.com>

 Ok, I'll fille motions for summary judgment.
 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                     Fri, Jun 25, 2021 at 11:36 AM
To: Alexandra Brinkmeier <ABrinkmeier@merelfamilylaw.com>



 ---------- Forwarded message ---------
 From: Megan Mason <megan42@gmail.com>
 Date: Thu, May 27, 2021 at 2:22 PM
 Subject: Re: MATT 16 D 9534 Request for Hearing Date
 [Quoted text hidden]
 [Quoted text hidden]
Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 29 of 74 PageID #:1217

                                EXHIBIT R
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 30 of 74 PageID #:1218
                                                         EXHIBIT S
                                                                                         Megan M <megan42@gmail.com>



Your service contact?
2 messages

Megan Mason <megan42@gmail.com>                                                                Thu, Feb 10, 2022 at 3:26 PM
To: Alexandra Brinkmeier <ABrinkmeier@merelfamilylaw.com>

 Hi Alex,

 I don't know if there's a way to remove you as a contact in Odyssey File. I just can't have loose ends with these guys.
 Chris just filed something yesterday along with NOF and didn't serve me...just happened to be in the docket so I saw it. So
 at one point someone changed my mailing address from 423 Linden Wilmette to 423 Linda Chicago. Now you're in there
 as a service contact and it has the LInda address....

 Can you remove your contact so I can have one less thing to worry about? If you have any ideas how it got changed,
 please let me know.




 Thanks,
 Megan


Alexandra Brinkmeier <ABrinkmeier@merelfamilylaw.com>                                          Thu, Feb 10, 2022 at 3:47 PM
To: Megan Mason <megan42@gmail.com>


 Hi Megan,



 So I believe the Clerk’s Office is the only one who can change that – I checked on my end of things and there isn’t any
 option to remove ourselves. I’m sorry I can’t be of more help.




 Alexandra Brinkmeier | Attorney at Law
           Case: 1:22-cv-02315 Document #: EXHIIBT
                                           39 Filed: S COINTINUED
                                                     10/03/22 Page 31 of 74 PageID #:1219
Law Offices of Jonathan Merel, P.C. | 2 Prudential Plaza, 180 N. Stetson Avenue, Suite 1300, Chicago, Illinois 60601
Phone: 312.408.7000 | Fax: 312.819.4001 | abrinkmeier@merelfamilylaw.com | www.merelfamilylaw.com

Suburbs (By Appointment Only)

5225 Old Orchard Road, Suite 50, Skokie, Illinois 60077

595 Elm Place, Suite 225, Highland Park, Illinois 60035

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manner. This communication does not form any contractual obligation on behalf of the sender or the Law Offices of Jonathan Merel, P.C.




From: Megan Mason <megan42@gmail.com>
Sent: Thursday, February 10, 2022 3:27 PM
To: Alexandra Brinkmeier <ABrinkmeier@merelfamilylaw.com>
Subject: Your service contact?



Hi Alex,



I don't know if there's a way to remove you as a contact in Odyssey File. I just can't have loose ends with these guys.
Chris just filed something yesterday along with NOF and didn't serve me...just happened to be in the docket so I saw it. So
at one point someone changed my mailing address from 423 Linden Wilmette to 423 Linda Chicago. Now you're in there
as a service contact and it has the LInda address....



Can you remove your contact so I can have one less thing to worry about? If you have any ideas how it got changed,
please let me know.




Thanks,
    Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 32 of 74 PageID #:1220
                     EXHIBIT T

CIRCUIT COURT OF COOK COUNTY                                          OFFICE OF THE INSPECTOR GENERAL
                                                                       CIRCUIT COURT OF COOK COUNTY
      I RI S Y. M ARTI NEZ
      CLERK OF THE CIRCUIT COURT                                           JAMES MURPHY-AGUILÚ
                                                                                  INSPECTOR GENERAL




      March 29, 2022

      Megan Matt

      Re: Case File CF# 2022-03-145


      Dear Megan Matt,


      Thank you for submitting your inquiry. We have opened a case under number CF# 2022-03-
      145.

      Should you have any further questions regarding this matter, please feel free to contact our
      office at 312-603-3424.


      Respectfully,




      Shawn Hallinan
      Deputy Chief
      Office of the Inspector General
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 33 of 74 PageID #:1221
                             EXHIBIT U

                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 17138374 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Exhibits Filed
10 messages

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                          Fri, Mar 18, 2022 at 2:09 PM
To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 17138374
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT

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  below. Please, contact the appropriate court help center for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations
  Returned Reason                       Rejected
  Returned Comments                     The correct code is proof of service


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                         Document Details
  Case Number                           2016D009534
  Case Style                            PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   3/18/2022 8:23 AM CST
  Filing Type                           EFileAndServe
  Filing Description                    Exhibit A
  Activity Requested                    Exhibits Filed
  Filed By                              Megan Mason
  Filing Attorney

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To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 17138374
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT
                                  EXHIBIT U#:CONTINUED
              Case: 1:22-cv-02315 Document    39 Filed: 10/03/22 Page 34 of 74 PageID #:1222
  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
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                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
   Returned Reason                    Rejected
   Returned Comments                  The correct code is proof of service


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                                                       Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/18/2022 8:23 AM CST
   Filing Type                        EFileAndServe
   Filing Description                 Exhibit B
   Activity Requested                 Exhibits Filed
   Filed By                           Megan Mason
   Filing Attorney
  [Quoted text hidden]



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To: megan42@gmail.com



                                                                                         Filing Returned
                                                                                            Envelope Number: 17138374
                                                                                            Case Number: 2016D009534
                                                                              Case Style: PETER MATT-vs-MEGAN MATT

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  below. Please, contact the appropriate court help center for further information.

                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
   Returned Reason                    Rejected
   Returned Comments                  The correct code is proof of service


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                                                       Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/18/2022 8:23 AM CST
   Filing Type                        EFile
   Filing Description                 Exhibit C
   Activity Requested                 Exhibits Filed
   Filed By                           Megan Mason
   Filing Attorney
              Case: 1:22-cv-02315EXHIBIT U CONTINUED
                                  Document #: 39 Filed: 10/03/22 Page 35 of 74 PageID #:1223
  [Quoted text hidden]



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To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 17138374
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT

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  below. Please, contact the appropriate court help center for further information.

                                            Return Reason(s) from Clerk's Office
   Court                                Cook County - Domestic Relations
   Returned Reason                      Rejected
   Returned Comments                    The correct code is proof of service


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                                                         Document Details
   Case Number                          2016D009534
   Case Style                           PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                  3/18/2022 8:23 AM CST
   Filing Type                          EFileAndServe
   Filing Description                   Exhibit D
   Activity Requested                   Exhibits Filed
   Filed By                             Megan Mason
   Filing Attorney
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                Mon, Mar 21, 2022 at 2:17 PM
To: "DomesticRelDiv Services (Circuit Court)" <domesticreldivservices@cookcountycourt.com>
Cc: "Brianna Steger (Chief Judge's Office)" <brianna.steger@cookcountyil.gov>, civilrights@ilag.gov,
CivilRightsDivision@usdoj.gov

  This is not a proof of service. It is an exhibit you received March 18, 2022. Kindly enter it according to law and your duty
  as a civil servant.

  Kind Regards,
  Megan Mason
  [Quoted text hidden]


        Exhibit D Petition to Transfer Venue .pdf
        358K


Megan Mason <megan42@gmail.com>                                                                Mon, Mar 21, 2022 at 2:18 PM
To: "DomesticRelDiv Services (Circuit Court)" <domesticreldivservices@cookcountycourt.com>
Cc: "Brianna Steger (Chief Judge's Office)" <brianna.steger@cookcountyil.gov>, civilrights@ilag.gov,
CivilRightsDivision@usdoj.gov
                               EXHIBIT
              Case: 1:22-cv-02315      U CONTINUED
                                  Document #: 39 Filed: 10/03/22 Page 36 of 74 PageID #:1224

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  as a civil servant.

  Kind Regards,
  Megan Mason
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  From: <no-reply@efilingmail.tylertech.cloud>
  Date: Fri, Mar 18, 2022 at 2:09 PM
  Subject: Filing Returned for Envelope Number: 17138374 in Case: 2016D009534, PETER MATT-vs-MEGAN MATT for
  filing Exhibits Filed
  To: <megan42@gmail.com>


  [Quoted text hidden]


        EXHIBIT C FIRST PBS DISCUSSION - Google Docs.pdf
        194K


Megan Mason <megan42@gmail.com>                                                                  Mon, Mar 21, 2022 at 2:19 PM
To: "DomesticRelDiv Services (Circuit Court)" <domesticreldivservices@cookcountycourt.com>
Cc: civilrights@ilag.gov, CivilRightsDivision@usdoj.gov, "Brianna Steger (Chief Judge's Office)"
<brianna.steger@cookcountyil.gov>

  This is not a proof of service. It is an exhibit you received March 18, 2022. Kindly enter it according to law and your duty
  as a civil servant.

  Kind Regards,
  Megan Mason

  ---------- Forwarded message ---------
  From: <no-reply@efilingmail.tylertech.cloud>
  Date: Fri, Mar 18, 2022 at 2:09 PM
  Subject: Filing Returned for Envelope Number: 17138374 in Case: 2016D009534, PETER MATT-vs-MEGAN MATT for
  filing Exhibits Filed
  To: <megan42@gmail.com>


  [Quoted text hidden]


        Exhibit B Workforce Shortage Email.pdf
        101K


Megan Mason <megan42@gmail.com>                                                                Mon, Mar 21, 2022 at 2:20 PM
To: "DomesticRelDiv Services (Circuit Court)" <domesticreldivservices@cookcountycourt.com>
Cc: "Brianna Steger (Chief Judge's Office)" <brianna.steger@cookcountyil.gov>, civilrights@ilag.gov,
CivilRightsDivision@usdoj.gov


  This is not a proof of service. It is an exhibit you received March 18, 2022. Kindly enter it according to law and your duty
  as a civil servant.

  Kind Regards,
  Megan Mason
  ---------- Forwarded message ---------
  From: <no-reply@efilingmail.tylertech.cloud>
  Date: Fri, Mar 18, 2022 at 2:09 PM
  Subject: Filing Returned for Envelope Number: 17138374 in Case: 2016D009534, PETER MATT-vs-MEGAN MATT for
  filing Exhibits Filed
  To: <megan42@gmail.com>
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 37 of 74 PageID #:1225
                                               EXHIBIT V

                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 17324002 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Subpoena - Returned - Personally Served
8 messages

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                           Fri, Apr 1, 2022 at 9:05 AM
To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 17324002
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT

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                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations
  Returned Reason                       Rejected
  Returned Comments                     document unreadable upon refiling please amke sure all documents are legible


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                                                       Document Details
  Case Number                           2016D009534
  Case Style                            PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   3/31/2022 4:32 PM CST
  Filing Type                           EFileAndServe
  Filing Description                    Document Subpoena Blechman
  Activity Requested                    Subpoena - Returned - Personally Served
  Filed By                              Megan Mason
  Filing Attorney

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To: megan42@gmail.com



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                                                                                               Envelope Number: 17324002
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT
                                              EXHIBIT
              Case: 1:22-cv-02315 Document #: 39        V CONTINUED
                                                 Filed: 10/03/22 Page 38 of 74 PageID #:1226
  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
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                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
   Returned Reason                    Rejected
                                      No rejection comment was provided. Please contact the court into which you are
   Returned Comments
                                      filing for more information.


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                                                    Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/31/2022 4:32 PM CST
   Filing Type                        EFileAndServe
   Filing Description                 Document Subpoena Wehrman
   Activity Requested                 Subpoena - Returned - Personally Served
   Filed By                           Megan Mason
   Filing Attorney
  [Quoted text hidden]



no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                      Fri, Apr 1, 2022 at 9:05 AM
To: megan42@gmail.com

                                                      EXHIBIT V CONTINUED
                                                                                         Filing Returned
                                                                                            Envelope Number: 17324002
                                                                                            Case Number: 2016D009534
                                                                              Case Style: PETER MATT-vs-MEGAN MATT

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                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
   Returned Reason                    Rejected
                                      No rejection comment was provided. Please contact the court into which you are
   Returned Comments
                                      filing for more information.


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                                                    Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/31/2022 4:32 PM CST
   Filing Type                        EFileAndServe
   Filing Description                 Document Subpoena Martinez
   Activity Requested                 Subpoena - Returned - Personally Served
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 39 of 74 PageID #:1227
   Filed By                     Megan Mason  EXHIBIT V CONTINUED
   Filing Attorney
  [Quoted text hidden]



no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                      Fri, Apr 1, 2022 at 9:05 AM
To: megan42@gmail.com



                                                                                         Filing Returned
                                                                                            Envelope Number: 17324002
                                                                                            Case Number: 2016D009534
                                                                              Case Style: PETER MATT-vs-MEGAN MATT

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  below. Please, contact the appropriate court help center for further information.

                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
   Returned Reason                    Rejected
                                      No rejection comment was provided. Please contact the court into which you are
   Returned Comments
                                      filing for more information.


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                    Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/31/2022 4:32 PM CST
   Filing Type                        EFileAndServe
   Filing Description                 Document Subpoena Bender
   Activity Requested                 Subpoena - Returned - Personally Served
   Filed By                           Megan Mason
   Filing Attorney
  [Quoted text hidden]



no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                      Fri, Apr 1, 2022 at 9:05 AM
To: megan42@gmail.com



                                                                                         Filing Returned
                                                                                            Envelope Number: 17324002
                                                                                            Case Number: 2016D009534
                                                                              Case Style: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please, contact the appropriate court help center for further information.

                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
              Case: 1:22-cv-02315 Document #: 39EXHIBIT  V CONTINUED
                                                 Filed: 10/03/22 Page 40 of 74 PageID #:1228
   Returned Reason                    Single Filing submitted as multiple transactions
                                      No rejection comment was provided. Please contact the court into which you are
   Returned Comments
                                      filing for more information.


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                    Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/31/2022 4:32 PM CST
   Filing Type                        EFileAndServe
   Filing Description                 Subpoena Bender
   Activity Requested                 Subpoena - Returned - Personally Served
   Filed By                           Megan Mason
   Filing Attorney
  [Quoted text hidden]



no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                      Fri, Apr 1, 2022 at 9:05 AM
To: megan42@gmail.com

                                                         EXHIBIT V CONTINUED

                                                                                         Filing Returned
                                                                                            Envelope Number: 17324002
                                                                                            Case Number: 2016D009534
                                                                              Case Style: PETER MATT-vs-MEGAN MATT

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  below. Please, contact the appropriate court help center for further information.

                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations
   Returned Reason                    Rejected
                                      No rejection comment was provided. Please contact the court into which you are
   Returned Comments
                                      filing for more information.


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                    Document Details
   Case Number                        2016D009534
   Case Style                         PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                3/31/2022 4:32 PM CST
   Filing Type                        EFileAndServe
   Filing Description                 Document Subpoena Trowbridge
   Activity Requested                 Subpoena - Returned - Personally Served
   Filed By                           Megan Mason
   Filing Attorney
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                  Fri, Apr 1, 2022 at 9:36 AM
          Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 41 of 74 PageID #:1229
                                                Exhibit W
                                                                                              Megan M <megan42@gmail.com>



Subpoena's To Certify
5 messages

Megan Mason <megan42@gmail.com>                                                          Thu, Feb 17, 2022 at 10:23 AM
To: "DomesticRelDiv Services (Circuit Court)" <DomesticRelDivServices@cookcountycourt.com>

 Dear Domestic Relation Division Clerk,

 Please stamp the attached document subpoenas, urgently required in support of my Motion to Transfer Venue. As a pro
 se litigant I am unable to self certify and therefore rely upon your timely support in this matter.

 Kind Regards,
 Megan Mason
 2016 D 9534

  3 attachments
      Martinez Subpoena.pdf
      389K
      Steger Subpoena .pdf
      398K
      Mason Subpoena .pdf
      411K


DomesticRelDiv Services (Circuit Court) <DomesticRelDivservices@cookcountycourt.com> Thu, Feb 17, 2022 at 5:41 PM
To: Megan Mason <megan42@gmail.com>


 Ms. Mason,


 Thanks for your email request. Your request has been forwarded to the Customer Care. Once completed
 you will be notified regarding further instructions. Please allow two to three weeks to process.


 Sincerely,




 From: Megan Mason [mailto:megan42@gmail.com]
 Sent: Thursday, February 17, 2022 10:23 AM
 To: DomesticRelDiv Services (Circuit Court) <DomesticRelDivservices@cookcountycourt.com>
 Subject: Subpoena's To Certify




                                                 External Message Disclaimer

     This message originated from an external source. Please use proper judgment and caution when opening attachments, clicking
                                                  links, or responding to this email.
              Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 42 of 74 PageID #:1230
                                                   Exhibit W Continued
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                            Fri, Feb 18, 2022 at 8:33 AM
To: "DomesticRelDiv Services (Circuit Court)" <DomesticRelDivservices@cookcountycourt.com>
Cc: civilrights@ilag.gov, CivilRightsDivision@usdoj.gov, aemmanuel@injusticewatch.org

  Dear Anonymous Sir or Madam,

  I apologize but as a pro se litigant I am not familiar with "the Customer Care". I have already attempted to submit the
  pleadings to Odyssey File. There is not a file type "Subponea". I submitted the subpoenas under a related category and
  asked in my notes to be advised of the correct file type. No advice was given. I then emailed the documents to you and
  was advised that they have been passed along to "the Customer Care".

  1. Who are you?
  2. Who is "the Customer Care"?
  3. Why have my subpoenas not been stamped?
  4. Is there an error in the way my subpoenas were written? If so, please advise how I may correct this.
  5. Is there a legal reason my subpoenas have not been stamped?

  Kind Regards,
  Megan Mason

  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                Mon, Mar 28, 2022 at 12:20 PM
To: "DomesticRelDiv Services (Circuit Court)" <DomesticRelDivservices@cookcountycourt.com>
Cc: CivilRights <civilrights@ilag.gov>, CivilRightsDivision@usdoj.gov, "Pond, Laura J." <Laura.Pond@ilag.gov>, "Brianna
Steger (Chief Judge's Office)" <brianna.steger@cookcountyil.gov>, "courtclerk (Circuit Court)"
<courtclerk@cookcountycourt.com>

  Dear Anonymous Sir or Madam,

  I am writing as a pro se litigant who wishes to have multiple document subpoenas certified. On a prior occasion you wrote
  to me that you had forwarded my request to "The Customer Care". Would you be so kind as to provide me with the
  "Customer care" contact? I still have not received those stamps as shocking as that may sound. Please advise
  their status.

  I have more subpoenas I require to be stamped. Please let me know how I may please have the attached subpoenas
  certified? I have the right to access justice. It is your obligation as an employee of the people of Cook County to support
  the people of Cook County in equal access to justice. Help me get these certified, please.

  Thanks,
  Megan Mason, Respondent, Pro Se, 2016 D 9534
  [Quoted text hidden]


   5 attachments
        Doc Subpoena Martinez.pdf
        363K
        Doc Subpoena Mr. Bradley Trowbridge.pdf
        344K
        Doc Subpoena Wehrman.pdf
        307K
        Document Subpoena Bender.pdf
        370K
        Doc Subpoena Blechman.pdf
        699K
                                  Case:
             All Domestic Relations  cases1:22-cv-02315       Document
                                           will be heard by phone or video. #: 39 Filed: 10/03/22 Page 43 of 74 PageID #:1231
             Go to http://www.cookcountycourt.org/LinkClick.aspx?fileticket=G7A8KAcSi8E%3d&portalid=0
                 to get more information and Zoom Meeting IDs.EXHIBIT X
             Remote Court Date: No hearing scheduled                                                                FILED
                                                                                                                                  11/15/2021 6:36 AM
                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS IRIS Y. MARTINEZ
                                                             COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION CIRCUIT CLERK
                                                                                                                                  COOK COUNTY, IL
                                                                                                                                  2016D009534
FILED DATE: 11/15/2021 6:36 AM 2016D009534




                                             IN RE THE MARRIAGE OF:                          )                                    Calendar, 23
                                                                                             )                                    15592432
                                             PETER MATT,                                     )
                                                                                             )
                                                                             Petitioner,     )
                                                                                             )
                                                     and                                     )       No. 16 D 9534
                                                                                             )
                                             MEGAN MATT n/k/a MASON,                         )
                                                                                             )
                                                                             Respondent.     )


                                              AFFIDAVIT OF MEGAN MATT N/K/A MASON IN OPPOSITION TO ALEXANDRA
                                                       BRINKMEIER’S MOTION TO WITHDRAW AS COUNSEL

                                                     I, MEGAN MATT n/k/a MASON, hereby submit this affidavit under penalties provided
                                             by law pursuant to section 1-109 of the Illinois Code of Civil Procedure and certify that the
                                             statement set forth in this affidavit are true and correct.


                                             I am submitting this affidavit to express my opposition to the withdrawal of Alexandra Brinkmeier
                                             as my attorney. I ask this Court to please deny Ms. Brinkmeier’s removal at this late juncture as
                                             such an abrupt change would cause material harm to me as her client. We are nearing the end
                                             of a custody evaluation and it would be unconscionable to deny me as a mother access to legal
                                             representation through a process that is so impactful to me and my children. I have no way of
                                             knowing that I will be able to obtain counsel in a timely manner who is able to familiarize him or
                                             herself with the matters of this case and give me the representation that I am entitled to.


                                             Furthermore, as Ms. Brinkmeier is well aware, there are extremely sensitive and unusual factors
                                             in this case that I have reason to believe put me and my children in peril. Ms. Brinkmeier must
                                             not be allowed to put her convenience above her client’s well being. This is antithetical to the
                                             lawyer-client relationship.


                                             Ms. Brinkmeier stated the reason for her wish to withdraw is a difference of principle. At no point
                                             has Ms. Brinkmeier ever stated to me that she had concerns about differences of principle. In
                                             fact, the first I heard about her wish to withdraw was on Friday, November 12th at 3pm in the
                                               Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 44 of 74 PageID #:1232
                                                                  Exhibit X Continued


                                             afternoon. At that time Ms. Brinkmeier explained she has a very heavy caseload and that two
                                             attorneys have left her firm. I told her I objected to her leaving and had concerns about my well
FILED DATE: 11/15/2021 6:36 AM 2016D009534




                                             being and that of my children if we are not provided competent legal counsel.


                                             Having never discussed any concerns about principle, I can only attempt to guess what Ms.
                                             Brinkmeier might mean by such a claim. I can only think of one instance of dispute between Ms.
                                             Brinkmeier and myself. As it happens I politely followed Ms. Brinkmeier’s advice in this matter,
                                             so it would appear that the difference of principle was easily resolved through normal
                                             client-attorney proceedings.


                                             However, given the abrupt attempt to remove herself from my case I feel compelled to point out
                                             that I believe she is doing so in order to extricate herself from a complicated situation. In other
                                             words, I desperately need help and so she is trying to get out o f helping me.


                                             When it comes to the one difference of opinion I can recall, shortly before retaining Ms.
                                             Brinkmeier as my attorney I came to have strong reason to believe that an individual formerly
                                             involved in my case had sabotaged my case resulting in an unfounded contempt finding. I had
                                             asked Ms. Brinkmeier to file for a motion to reconsider because of the misconduct of this
                                             individual.


                                             I provided Ms. Brinkmeier with extensive evidence supporting my suspicion and invited her to
                                             provide me with an alternative explanation. I specifically presented evidence of attorney
                                             malfeasance, deceit, fraud upon the court, sabotage, identity theft and internet fraud. Ms.
                                             Brinkmeier was unable to provide me with an alternative explanation to the events I documented
                                             and described.


                                             I fully appreciate how serious such allegations are and therefore I have also brought my
                                             concerns to other attorneys in an informal advisory capacity hoping that I, as a lay person, might
                                             learn of an explanation other than fraud for the events that I detailed. Specifically I have
                                             consulted with and disclosed to Michael Sharp, the General Counsel of Jefferies Financial LLC;
                                             The Honorable Judge Judy Harris Kluger, founder of Sanctuary for Families; and Dorchen
                                             Leidholdt, lead attorney for Sanctuary for Families. In addition to the several attorneys I’ve
                                             disclosed to I have consulted with a mental health therapist on a regular basis. I know of no
                                             claims that my allegations ar deceitful or misguided, even by Ms. Brinkmeier herself.
                                               Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 45 of 74 PageID #:1233
                                                            Exhibit X Continued


                                             Because I believe I was found in contempt in August of 2020 as a direct result of the misconduct
                                             just mentioned I asked Ms. Brinkmeier to file a motion to reconsider in this Court. I thought that
FILED DATE: 11/15/2021 6:36 AM 2016D009534




                                             fraud could be the basis. She said the time that had lapsed was too long and that the suspected
                                             crimes were not a basis. I accepted her decision.


                                             However, I reported my suspicions to The Department of Justice’s Task Force on Internet Crime
                                             and other Federal authorities. On November 8th, four days before her abrupt decision to
                                             withdraw, I wrote to tell Ms. Brinkmeier that I had submitted complaints to the Department of
                                             Justice alleging internet fraud, fraud upon the court and identity theft by this individual. I also
                                             disclosed other reports to federal law enforcement that I fear put me at peril of retaliation or
                                             attempts to evade prosecution by others who may be involved in these matters.


                                             I beg this Court to deny Ms. Brinkmeier’s motion to withdraw. If the court does grant this motion
                                             against my strong objection, I ask that Ms. Brinkmeier only do so after she has presented me
                                             with three attorneys who are willing and able to accept my case.




                                                                                                    MEGAN MATT n/k/a MASON
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 46 of 74 PageID #:1234

                                               EXHIBIT Y
                                                                                               Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 18531696 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Answer/Response/Reply Filed
2 messages

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                             Tue, Jul 5, 2022 at 2:41 PM
To: megan42@gmail.com
                                                    EXHIBIT Y


                                                                                                 Filing Rejected
                                                                                               Envelope Number: 18531696
                                                                                               Case Number: 2016D009534
                                                                                  Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                             Return Reason(s) from Clerk's Office
  Court                                  Cook County - Domestic Relations - District 1 - Chicago
  Returned Reason                        Rejected
  Returned Comments                      Exhibit has its own filing code



  To learn how to copy the
  rejected filing so that you
  can make changes to refile,
  click here
                                                        Document Details
  Case Number                            2016D009534
  Case Name                              PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                    7/3/2022 10:47 AM CST
  Filing Type                            EFileAndServe
  Filing Description                     Defendant's Response to Michael Bender's PRTSC filed 20 June 2022
  Filing Code                            Answer/Response/Reply Filed
  Filed By                               Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.



Megan Mason <megan42@gmail.com>                                                                        Wed, Jul 6, 2022 at 6:37 AM
To: Megan M <megan42@gmail.com>

  It is standard procedure for litigants to affix exhibits to the response or motion being filed. Your office has a long history of
  abuse toward pro se litigants. I therefore demand an explanation for this rejection. I believe it is in furtherance of efforts to
  obstruct justice, by artificially delaying the entry of just filings into the court record.
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 47 of 74 PageID #:1235
Please bring this to a supervisor’s attention who may explain to me:
1. What local rule prevents me from affixing exhibits to a pleading?
2. Please explain why in the last two months attorneys Christopher Wehrman and Michael Bender were allowed to file
exhibits affixed to their pleading.
3. Is this policy based on gender or economic status?
4. Please provide the name of the clerk employee who rejected this pleading.

Thanks,
Megan Mason
[Quoted text hidden]
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 48 of 74 PageID #:1236

                                                              EXHIBIT Z
                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 19274485 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Petition Filed
1 message

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                       Tue, Aug 30, 2022 at 10:57 AM
To: megan42@gmail.com



                                                                                              Filing Rejected
                                                                                             Envelope Number: 19274485
                                                                                             Case Number: 2016D009534
                                                                                Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations - District 1 - Chicago
  Returned Reason                       Multiple filings submitted as one transaction
                                        Each filing has its own filing code
  Returned Comments
                                        affidavits and exhibit



  To learn how to copy the
  rejected filing so that you
  can make changes to refile,
  click here
                                                         Document Details
  Case Number                           2016D009534
  Case Name                             PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   8/29/2022 12:25 PM CST
  Filing Type                           EFileAndServe
                                        (2nd Attempt to File) Megan Mason's Section 2-1401 Petition to Vacate the Ausut
  Filing Description
                                        28, 2022 Finding of Contempt and Order
  Filing Code                           Petition Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 49 of 74 PageID #:1237

                                                      EXHIBIT AA                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 19429461 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Notice Of Filing Filed
no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                           Fri, Sep 9, 2022 at 3:49 PM
To: megan42@gmail.com



                                                                                              Filing Rejected
                                                                                             Envelope Number: 19429461
                                                                                             Case Number: 2016D009534
                                                                                Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations - District 1 - Chicago
  Returned Reason                       Rejected
  Returned Comments                     This Petition is a Fee



  To learn how to copy the
  rejected filing so that you
  can make changes to refile,
  click here
                                                       Document Details
  Case Number                           2016D009534
  Case Name                             PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   9/9/2022 1:00 PM CST
  Filing Type                           EFileAndServe
  Filing Description                    NOF Megan Mason's Section 2-1401 Petition
  Filing Code                           Notice Of Filing Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 50 of 74 PageID #:1238
                            EXHIBIT BB
                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 19429461 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Affidavit Filed
1 message

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                           Fri, Sep 9, 2022 at 3:49 PM
To: megan42@gmail.com



                                                                                              Filing Rejected
                                                                                             Envelope Number: 19429461
                                                                                             Case Number: 2016D009534
                                                                                Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations - District 1 - Chicago
  Returned Reason                       Rejected
  Returned Comments                     This Petition is a Fee



  To learn how to copy the
  rejected filing so that you
  can make changes to refile,
  click here
                                                          Document Details
  Case Number                           2016D009534
  Case Name                             PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   9/9/2022 1:00 PM CST
  Filing Type                           EFileAndServe
  Filing Description                    Affidavit in Support of Megan Mason's Section 2-1401 Petition
  Filing Code                           Affidavit Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 51 of 74 PageID #:1239

                                       EXHIBIT CC
                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 19429461 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Petition Filed
1 message

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                           Fri, Sep 9, 2022 at 3:49 PM
To: megan42@gmail.com



                                                                                              Filing Rejected
                                                                                             Envelope Number: 19429461
                                                                                             Case Number: 2016D009534
                                                                                Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations - District 1 - Chicago
  Returned Reason                       Rejected
  Returned Comments                     This Petition is a Fee



  To learn how to copy the
  rejected filing so that you
  can make changes to refile,
  click here
                                                         Document Details
  Case Number                           2016D009534
  Case Name                             PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   9/9/2022 1:00 PM CST
  Filing Type                           EFileAndServe
                                        Megan Masons Section 2-1401 Petition to Vacate the August 28, 2022 Finding of
  Filing Description
                                        Contempt and Order
  Filing Code                           Petition Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 52 of 74 PageID #:1240
                         EXHIBIT DD

                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 19427774 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Exhibits Filed
3 messages

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                           Fri, Sep 9, 2022 at 2:44 PM
To: megan42@gmail.com



                                                                                              Filing Rejected
                                                                                             Envelope Number: 19427774
                                                                                             Case Number: 2016D009534
                                                                                Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations - District 1 - Chicago
  Returned Reason                       Rejected
                                        The first page of the first pdf is blank, we do not file blank documents. Also, multiple
  Returned Comments
                                        documents were filed with the lead document



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  rejected filing so that you
  can make changes to refile,
  click here
                                                         Document Details
  Case Number                           2016D009534
  Case Name                             PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   9/9/2022 12:21 PM CST
  Filing Type                           EFileAndServe
                                        Exhibit E (Notice of Bankruptcy Stay of Proceedings) Response to Michael Benders
  Filing Description
                                        PRTSC Fees
  Filing Code                           Exhibits Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
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no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                           Fri, Sep 9, 2022 at 2:44 PM
To: megan42@gmail.com
              Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 53 of 74 PageID #:1241
                                    EXHIBIT DD
                                                                                            Filing Rejected
                                                                                           Envelope Number: 19427774
                                                                                           Case Number: 2016D009534
                                                                              Case Name: PETER MATT-vs-MEGAN MATT


  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations - District 1 - Chicago
   Returned Reason                    Rejected
                                      The first page of the first pdf is blank, we do not file blank documents. Also, multiple
   Returned Comments
                                      documents were filed with the lead document



   To learn how to copy the
   rejected filing so that you
   can make changes to refile,
   click here
                                                       Document Details
   Case Number                        2016D009534
   Case Name                          PETER MATT-vs-MEGAN MATT
   Date/Time Submitted                9/9/2022 12:21 PM CST
   Filing Type                        EFileAndServe
   Filing Description                 Exhibit A Response to Bender's PRTSC Fees
   Filing Code                        Exhibits Filed
   Filed By                           Megan Mason
   Filing Attorney
  [Quoted text hidden]



no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                         Fri, Sep 9, 2022 at 2:44 PM
To: megan42@gmail.com



                                                                                            Filing Rejected
                                                                                           Envelope Number: 19427774
                                                                                           Case Number: 2016D009534
                                                                              Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please contact your local court clerk for further information.

                                          Return Reason(s) from Clerk's Office
   Court                              Cook County - Domestic Relations - District 1 - Chicago
   Returned Reason                    Rejected
                                      The first page of the first pdf is blank, we do not file blank documents. Also, multiple
   Returned Comments
                                      documents were filed with the lead document
                                   EXHIBIT
            Case: 1:22-cv-02315 Document #: DD
                                            39 Filed: 10/03/22 Page 54 of 74 PageID #:1242

 To learn how to copy the
 rejected filing so that you
 can make changes to refile,
 click here
                                                  Document Details
 Case Number                     2016D009534
 Case Name                       PETER MATT-vs-MEGAN MATT
 Date/Time Submitted             9/9/2022 12:21 PM CST
 Filing Type                     EFileAndServe
                                 Exhibit F (Meeting of Creditors Scheduled) Response to Michael Bender's PRTSC
 Filing Description
                                 Fees
 Filing Code                     Exhibits Filed
 Filed By                        Megan Mason
 Filing Attorney
[Quoted text hidden]
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 55 of 74 PageID #:1243
                                   EXHIBIT EE
                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 16422640 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Brief Filed
1 message

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                       Tue, Jan 25, 2022 at 12:35 PM
To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 16422640
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please, contact the appropriate court help center for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations
  Returned Reason                       Rejected Rejected
                                        No rejection comment was provided. Please contact the court into which you are
                                        filing for more information.
  Returned Comments
                                        We can not accept the instruction sheets.


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                       Document Details
  Case Number                           2016D009534
  Case Style                            PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   1/25/2022 6:31 AM CST
  Filing Type                           EFileAndServe
  Filing Description
  Activity Requested                    Brief Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 56 of 74 PageID #:1244
                            EXHIBIT FF

                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 16422640 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Report Or Record Of Proceedings Filed
1 message

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                       Tue, Jan 25, 2022 at 12:35 PM
To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 16422640
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please, contact the appropriate court help center for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations
  Returned Reason                       Rejected Rejected
                                        The wrong filing code, this is not the appelate court.
  Returned Comments
                                        We can not accept the instruction sheets. This is a appellate document, this is not
                                        the appellate court


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                       Document Details
  Case Number                           2016D009534
  Case Style                            PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   1/25/2022 6:31 AM CST
  Filing Type                           EFileAndServe
  Filing Description                    Bystander Report
  Activity Requested                    Report Or Record Of Proceedings Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
            Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 57 of 74 PageID #:1245
                             EXHIBIT GG

                                                                                             Megan M <megan42@gmail.com>



Filing Returned for Envelope Number: 16422640 in Case: 2016D009534, PETER
MATT-vs-MEGAN MATT for filing Motion Filed
1 message

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                       Tue, Jan 25, 2022 at 12:35 PM
To: megan42@gmail.com



                                                                                             Filing Returned
                                                                                               Envelope Number: 16422640
                                                                                               Case Number: 2016D009534
                                                                                 Case Style: PETER MATT-vs-MEGAN MATT

  The filing below has been reviewed and has been returned for further action. Please refile with the corrections outlined
  below. Please, contact the appropriate court help center for further information.

                                            Return Reason(s) from Clerk's Office
  Court                                 Cook County - Domestic Relations
  Returned Reason                       Rejected
                                        We can not accept the instruction sheets. This is a appellate document, this is not
  Returned Comments
                                        the appellate court


  To learn how to copy the rejected filing so that you can make changes to refile, click here
                                                       Document Details
  Case Number                           2016D009534
  Case Style                            PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                   1/25/2022 6:31 AM CST
  Filing Type                           EFileAndServe
  Filing Description                    Motion to enter Bystander Brief
  Activity Requested                    Motion Filed
  Filed By                              Megan Mason
  Filing Attorney

  If you are not represented by a lawyer, we want to improve your e-filing experience. Please click here to fill out a short
  survey.
              Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 58 of 74 PageID #:1246
                                                      EXHIBIT HH

                                                                                                Megan M <megan42@gmail.com>



Witness this am at 8:30?
Megan Mason <megan42@gmail.com>                                                                   Sat, Mar 5, 2022 at 8:56 AM
To: Megan Mason <megan42@gmail.com>
Bcc: Michael Woolf <minister@lakestreet.org>, Jillian Westerfield <jwesterfield@lakestreet.org>, Barb Vaughan
<barb.vaughan@yahoo.com>, Delane Haro <delanewharo@gmail.com>

  Friends, I just wanted to share with you a little good news and offer up a prayer of thanksgiving for Ms. Janice Thompson,
  an employee in the Clerk of the Circuit Court of Chicago! I reached out to you earlier this week because you are folks who
  are familiar with my case and who have the types of jobs that sometimes allow daytime zoom calls. But you also happen
  to be people I consider part of my own faith community and with whom I can be open about my spiritual journey.

  As I prepared for Court I prayed that God would please send me some sign that someone can help me. I believe both
  spiritually and intellectually that if I can keep loudly and clearly telling the truth about the wrongs I witness that I can help
  bring change. But I also know this might take two, five, ten years. I just prayed to have some small sign that I am being
  heard, that my work on this matters.

  I believe my prayers were answered. On Thursday I received a phone call from a woman named Janice Thompson. Ms.
  Thompson works in the Civil Appeals Division of the Circuit Court. She prepares the record for the Appeals court, it's a
  very important part of the process. I can't file my actual appellate brief (case) until the Appeals Court has the official
  record from the Circuit Court. The appeals process is complicated with lots of deadlines and I've always known that the
  other attorneys would try to make me miss deadlines. Ms. Thompson informed me that she works for the Circuit Court and
  prepares the record. Although I'd submitted my request and it was approved (stamped) on January 24th, she didn't get it
  on her desk until February 28th. The deadline for her to transfer the record had been February 9th. I asked her if I had
  made any errors to cause this and she answered (the truth!!!!!) that no, there had been some mixups with the other clerks.
  It wasn't my fault.

  Ms. Thompson further gave me advice on how to file a motion for an extension. Then yesterday, when I had the deadline
  extended to March 18th, Ms. Thompson called me again and mentioned that all of my exhibits were missing labels. I'm
  new to this, obviously, and I submitted the exhibits (evidence) electronically, with the required format in the file name
  (Exhibit A, Exhibit B....). But Ms. Thompson had received printed copies and hadn't written titles. She went through my file
  and personally added labels to more than twenty documents. She didn't need to do this. She did this because she is a
  woman of integrity who wants to do her job right.

  I can't express to you how good it felt to be on the phone with this polite, calm woman, talking to me as if I'm a human
  being who matters, speaking truthfully and doing her job. I'm just filled with gratitude for this reminder of how many good,
  decent people there are and what good it does for all of us to have professional civil servants. I wanted to share this with
  you because you've been there for me to hear the "bad" but I also want to share the good. I know my faith that there is
  more goodness to be found has been strengthened.

  Love,
  Megan
  [Quoted text hidden]
Case: 1:22-cv-02315 Document EXHIBIT   II 10/03/22 Page 59 of 74 PageID #:1247
                             #: 39 Filed:
                                EXHIBIT#:
           Case: 1:22-cv-02315 Document JJ39 Filed: 10/03/22 Page 60 of 74 PageID #:1248

                                                                                            Megan M <megan42@gmail.com>



Filing Accepted for Case: 2016D009534; PETER MATT-vs-MEGAN MATT; Envelope
Number: 19542841
4 messages

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                     Mon, Sep 19, 2022 at 11:50 AM
To: megan42@gmail.com



                                                                                            Filing Accepted
                                                                                                 Envelope Number: 19542841
                                                                                                 Case Number: 2016D009534
                                                                                   Case Style: PETER MATT-vs-MEGAN MATT

  The filing below was reviewed and has been accepted by the clerk's office. You may access the file stamped copy of the
  document filed by clicking on the below link.

                                                        Filing Details
  Court                                Cook County - Domestic Relations
  Case Number                          2016D009534
  Case Style                           PETER MATT-vs-MEGAN MATT
  Date/Time Submitted                  9/19/2022 11:42 AM CST
  Date/Time Accepted                   9/19/2022 11:50 AM CST
  Accepted Comments
  Filing Type                          EFileAndServe
  Filing Description                   Request for record on appeal filed on Sept. 15, 2022
  Activity Requested                   Request For Preparation Of The Record
  Filed By                             Megan Mason
  Filing Attorney
  Hearing Date                         No hearing scheduled
  Court Room Number                    No hearing scheduled
  Court Address                        No hearing scheduled


                                                     Document Details
  Lead Document                        Request for Record on Appeal Matt.pdf
  Lead Document Page Count             1
  File Stamped Copy                    Download Document
                                                This link is active for 45 days.

  If the link above is not accessible, copy this URL into your browser's address bar to view the document:
  https://illinois.tylerhost.net/ViewDocuments.aspx?FID=8bbcee6a-ca1f-4a10-8d45-00f57a55d6cc

  Please Note: If you have not already done so, be sure to add yourself as a service contact on this case in order to receive
  eService.

                                    For technical assistance, contact your service provider
                                   EXHIBIT
             Case: 1:22-cv-02315 Document #: JJ
                                             39 Filed: 10/03/22 Page 61 of 74 PageID #:1249
 Odyssey File & Serve

 (800) 297-5377

 Please do not reply to this email. It was automatically generated.



Megan Mason <megan42@gmail.com>                                                                     Mon, Sep 19, 2022 at 12:37 PM
To: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>
Cc: "Janice L. Thompson (Circuit Court)" <jlthompson@cookcountycourt.com>

 Hi. Ms. Peterson,

 I just wanted to follow up on a phone call I received from a member of your staff at 12:25pm today. She said her name
 was "Ms. Sung". The phone number she called me from was (312) 603- 5500. Your staff member informed me that she
 had received a filing from me and that she would not be able to assist me. She said, "your request was filed in the
 Domestic Relations Court, this is for the Apellate Court". I informed your staff person that no, the trial court (in this case
 Domestic Relations Division of the Circuit Court) prepares the record on appeal. I, as the appellant am required under
 Illinois to file a request with your office (The Clerk of the Circuit Court) and your office (The Clerk of the Circuit Court) is
 required to prepare the record.

 This is the second appeal I have filed in this district. The first time, due to reasons that have never been explained to me,
 the request was received by your office and misplaced and delayed for over a month. The record was not delivered to the
 Apellate Court on time. For this reason I have paid attention to the minutest detail of the process for requesting the record
 on appeal. I have prepayed the $70, though I do maintain the fee is due one the record is prepared, not prior to
 commencement. I have filed my request twice. I have attempted to call you three times. I have emailed you and other staff
 multiple times.

 The person on the phone who identified herself as Ms. Sung said that "I have this envelope from you and I don't know
 what to do with it". I said, I did not give you an envelope. I efiled a request to prepare the record on appeal". I efiled it
 September 15th, again on September 19th. I am attaching it here, Ms. Peterson. Please take the necessary steps to
 prepare the record on appeal now.

 Kind Regards,
 Megan Mason
 [Quoted text hidden]


       Stamped Request for Record on Appeal Matt (2).pdf
       269K


Gretchen L. Peterson (Circuit Court) <glpeterson@cookcountycourt.com>                                Mon, Sep 19, 2022 at 1:11 PM
To: Megan Mason <megan42@gmail.com>
Cc: "Janice L. Thompson (Circuit Court)" <jlthompson@cookcountycourt.com>


 Good Afternoon,


 That call did not come from the Civil Appeals Division & I do not know who called you. We have your
 request and will process for the date due.


 Gretchen Peterson

 Chief Deputy Clerk

 Civil Appeals Division

 50 W Washington

 Chicago, Il. 60602
             Case: 1:22-cv-02315 Document
                               EXHIBIT JJ #: 39 Filed: 10/03/22 Page 62 of 74 PageID #:1250
 Room 801

 312-603-5523 (Office)

 312-603-5714 (Fax)

 glpeterson@cookcountycourt.com

 www.cookcountyclerkofcourt.org




 From: Megan Mason <megan42@gmail.com>
 Sent: Monday, September 19, 2022 12:38 PM
 To: Gretchen L. Peterson (Circuit Court) <glpeterson@cookcountycourt.com>
 Cc: Janice L. Thompson (Circuit Court) <jlthompson@cookcountycourt.com>
 Subject: Fwd: Filing Accepted for Case: 2016D009534; PETER MATT-vs-MEGAN MATT; Envelope
 Number: 19542841




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                                                   links, or responding to this email.


 [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                      Wed, Sep 21, 2022 at 10:56 AM
To: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>
Cc: "Janice L. Thompson (Circuit Court)" <jlthompson@cookcountycourt.com>, "JOSEPH HODAL (States Attorney)"
<joseph.hodal@cookcountyil.gov>, "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>

 Hi Ms. Peterson,

 Given my concerns about inconsistencies and inaccuracies by some of your employees, I also wanted to follow up to
 make sure my response to the original petition for the order under appeal, in the form of duly filed motion to dismiss the
 action, is included in the record. I'm attaching here the document filed on July 5th and the receipt from when your clerks
 accepted it three business days later.

 Kind Regards,
 Megan Mason
 [Quoted text hidden]


  2 attachments
       Gmail - Filing Accepted for Case_ 2016D009534; PETER MATT-vs-MEGAN MATT; Envelope Number_
       18532371.pdf
       123K
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 63 of 74 PageID #:1251
                                EXHIBIT KK

                                                                                             Megan M <megan42@gmail.com>



Filing Submitted for Case: 2016D009534; PETER MATT-vs-MEGAN MATT; Envelope
Number: 19510572
2 messages

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>                         Thu, Sep 15, 2022 at 2:36 PM
To: megan42@gmail.com



                                                                                           Filing Submitted
                                                                                             Envelope Number: 19510572
                                                                                             Case Number: 2016D009534
                                                                                Case Name: PETER MATT-vs-MEGAN MATT

  The filing below has been submitted to the clerk's office for review and assigned Envelope Number: 19510572. You will
  be notified by email in 24-48 hours if your filing has been accepted or rejected.

                                                          Filing Details
  Court                                 Cook County - Domestic Relations - District 1 - Chicago
  Date/Time Submitted                   9/15/2022 2:34 PM CST
  Filing Type                           EFileAndServe
  Filing Description
  Filing Code                           Request Filed
  Filed By                              Megan Mason
  Filing Attorney


                                                           Fee Details

  Your account is never charged until your filing is accepted. If you see any pending charges on your account prior to
  acceptance, this is an authorization hold to ensure the funds are available so your filing can be accepted without delay.

  If the filing is canceled or rejected these funds will be released and will return to your account according to your financial
  institution's policies (typically 3-10 business days).

   This envelope is pending review and fees may change.
   Case Fee Information                      $0.00
   Request Filed                             $0.00
   Request Filed                             $0.00

  Total:$0.00 (The envelope still has pending filings and the fees are subject to change)


                                                        Document Details
  Lead Document                         Request for Record on Appeal Matt.pdf
  Lead Document Page Count              1
  File Copy                             Download Document
                                                 This link is active for 45 days.
              Case: 1:22-cv-02315 Document
                                   EXHIBIT#:LL39 Filed: 10/03/22 Page 64 of 74 PageID #:1252

    3. Once you select the Filing Code, you have the
       option of filling out four boxes, but they are not
       required.
          a. Filing Description (optional)
                    i. This is just for you to remember
                        what you are filing.
          b. Client Reference Number (optional)
                    i. This is a tracking number for
                        lawyers to use to know which
                        client's case they are filing in.
                        Since you are representing
                        yourself, you won't use this box.
          c. Comments to Court (optional)
                    i. These comments are for the court reviewer to read when assessing your document.
          d. Courtesy Copies (optional)
                    i. You may enter a list of email addresses (separated by a comma) for where you want the
                        document sent.
                        Note: this is a courtesy and does NOT qualify for service of process or proper notice.

     Explanation of Lead Documents, Attachments, and Document Size
What is a Lead Document?
   Any document that you need the court to look at to be able to give you what you want.
           o For example, if you want the court to grant your request to move your court date, upload your
              Motion for a Continuance as a Lead Document.
   All notice documents (such as a Notice for Court Date, Notice of Motion) are Lead Documents.
   You can file more than one Lead Document at a time.
           o For example, you could have Lead Document 1: Notice of Motion; Lead Document 2: Motion for
              a Continuance; and Lead Document 3: Application for Waiver of Court Fees.
           o An Application for Waiver of Court Fees is always a Lead Document and should be filed at the
              same time as your other documents. If the court already approved your Application for Waiver
              of Court Fees, you should file a copy of the approved Order as an attachment to anything you
              file after that.
What are Attachments?
   A category of filing that is only an option in some counties and for some types of Filing Codes. If you
       don't see Attachments as an option, file everything in the Lead Document section. You can do that by
       making the Lead Document and any attachments/exhibits one PDF, and upload as a Lead Document.
   Any document that you reference in your Lead Document, but is not technically part of the Lead
       Document. They are usually called exhibits or attachments.
           o For example, if you write an Answer in an eviction case saying why you shouldn't be evicted,
              that written explanation is the Lead Document. In the Answer, you reference a receipt for
              paying rent. The copy of the receipt could be labeled Exhibit or Attachment 1 and would be an
              Attachment, not a Lead Document.
What are the Document Size Limits?
   For Trial Courts, each document cannot be larger than 25MB and a combined total of 50MB per filing.
   For the Supreme Court and the Appellate Courts the file size limit is to 150MB.


                          Need Help? Call Odyssey's Filer Support Number: 1-800-297-5377
EF-U 3708.2                                      Page 3 of 7                                             (07/18)
           Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 65 of 74 PageID #:1253
                          EXHIBIT MM
                                                                                            Megan M <megan42@gmail.com>



Refusal of clerks to certify documents
14 messages

Megan Mason <megan42@gmail.com>                                                     Tue, Aug 30, 2022 at 2:10 PM
To: tzmiller@cookcountycourt.com
Cc: "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>, "ELIZABETH BROGAN (States Attorney)"
<ELIZABETH.BROGAN@cookcountyil.gov>

 Ms. Miller,

 Last month I raised the issue of your clerks inappropriately rejecting my pleadings. Again, I have filed a petition with
 affidavit and certificate of service affixed. This is standard procedure and I believe allowable under Illlinois law. Please
 protect my constitutional right to access the judicial process as protected under federal and state law. Please confirm that
 this petition has been filed or offer a legal basis for refusal. Please advise your staff to cease and desist harassing me and
 interfering with my necessary legal actions.

 Sincerely,
 Megan Mason, Pro Se Respondent 2016 D 9534

  2 attachments
      Refusal to file 29Aug22.pdf
      129K
      Megan Mason’s Section 2-1401 Petition to Vacate the August 28, 2022 Finding of Contempt and Order .pdf
      3055K


Talitha Z. Miller (Circuit Court) <tzmiller@cookcountycourt.com>                    Tue, Aug 30, 2022 at 3:51 PM
To: Megan Mason <megan42@gmail.com>
Cc: "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>, "ELIZABETH BROGAN (States Attorney)"
<ELIZABETH.BROGAN@cookcountyil.gov>


 Good Afternoon Ms. Mason,



 Please provide a contact number for the process to be properly explained to you.




 Talitha Miller
 Assistant Chief Deputy Clerk
 Domestic Relations Division
 Iris Y. Martinez , Clerk of the Circuit Court of Cook County
 Richard J Daley Center
              Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 66 of 74 PageID #:1254
  50 W. Washington, Room 802
                                              EXHIBIT MM
  Chicago, IL 60602
  312-603-6986-Ph.
  tzmiller@cookcountycourt.com -Email
  www.cookcountyclerkofcourt.org –Website




  From: Megan Mason [mailto:megan42@gmail.com]
  Sent: Tuesday, August 30, 2022 2:11 PM
  To: Talitha Z. Miller (Circuit Court) <tzmiller@cookcountycourt.com>
  Cc: JOSEPH HODAL (States Attorney) <joseph.hodal@cookcountyil.gov>; ELIZABETH BROGAN (States
  Attorney) <ELIZABETH.BROGAN@cookcountyil.gov>
  Subject: Refusal of clerks to certify documents




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                                                    links, or responding to this email.


  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                  Tue, Aug 30, 2022 at 4:37 PM
To: "Talitha Z. Miller (Circuit Court)" <tzmiller@cookcountycourt.com>
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>

  Ms. Miller,

  I require a written response. Enter the pleading or provide a writen “explanation”, please. You may continue
  communicating with me using the email of record: megan42@gmail.com.

  Kind Regards,
  Megan Mason
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                        Tue, Aug 30, 2022 at 4:48 PM
To: "Talitha Z. Miller (Circuit Court)" <tzmiller@cookcountycourt.com>
                                        EXHIBIT
              Case: 1:22-cv-02315 Document        MM 10/03/22 Page 67 of 74 PageID #:1255
                                           #: 39 Filed:
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>

  And, Ms. Miller, I understand you are not authorized in your authority to make determinations under Illinois law. This is
  why your obstinate refusal to file a document is puzzling - clerks are to file documents promptly for pro se litigants as with
  any attorney. I would like to draw your attention to Illinois rule 735 ILCS 5/2-606) (from Ch. 110, par. 2-606
  which reads:
  "Sec. 2-606. Exhibits. If a claim or defense is founded upon a written instrument, a copy
  thereof, or of so much of the same as is relevant, must be attached to the pleading as an
  exhibit or recited therein, unless the pleader attaches to his or her pleading an
  affidavit stating facts showing that the instrument is not accessible to him or her. In
  pleading any written instrument a copy thereof may be attached to the pleading as an
  exhibit. In either case the exhibit constitutes a part of the pleading for all purposes.
  (Source: P.A. 82-280.)".

  I would like to specifically note that Mr. Christopher Wehrman, my prior counsel and every other attorney I've observed
  using Odyssey file is in the habit of filing the pleading with the certificate of services and exhibits affixed. Yes I may enter
  an individual exhibit or other document. I may also affix it to the pleading.

  I want to be clear that I am copying your attorneys here because you, along with Ms. Iris Martinez, Lori Garner, Dorothy
  Brown and other colleagues are named in a complaint I am presently filing in the Northern District of Illinois. The main
  concern is my ongoing civil rights violations. I am copying them here to make them aware that the violations are ongoing
  as they will, within the next two weeks, be in receipt of a motion for injunctive relief to stop what you're doing.

  It's not your job to interpret the law or decide to deny me justice, it's your job to file the document and to protect my rights.
  Do it, ma'am.
  [Quoted text hidden]



Talitha Z. Miller (Circuit Court) <tzmiller@cookcountycourt.com>                              Tue, Aug 30, 2022 at 6:15 PM
To: Megan Mason <megan42@gmail.com>
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>, "Turyia T. Clay (Circuit Court)" <ttclay@cookcountycourt.com>


  Good Evening Ms. Mason,


  You cannot file multiple documents in the eFiling system. Every document has a
  code in the eFiling system. If you look at the document that you sent to me in a
  previous email it tells you what you should use.




  Kind Regards,
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                Fri, Sep 9, 2022 at 11:49 AM
To: "Talitha Z. Miller (Circuit Court)" <tzmiller@cookcountycourt.com>
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>, "Turyia T. Clay (Circuit Court)" <ttclay@cookcountycourt.com>

  That is not the standard applied to attorneys. That is not codified. That is discriminatory and intended to curb my right to
  access justice. You cannot apply different standards to different classes of litigants. Shame on you. The one duty you
  have is to protect the fair operation of our courts and you cannot do that. You and your colleagues disgrace the state of
  Illinois.
  [Quoted text hidden]
              Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 68 of 74 PageID #:1256
                                       EXHIBIT MM
Megan Mason <megan42@gmail.com>                                                                Fri, Sep 23, 2022 at 3:30 PM
To: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>, "Turyia T. Clay (Circuit Court)" <ttclay@cookcountycourt.com>, "Talitha Z. Miller
(Circuit Court)" <tzmiller@cookcountycourt.com>

  Ms. Peterson,

  Will you kindly clarify the Clerk's Policy on below and settle a disagreement between myself and Ms. Miller,
  an employee in your office. Ms. Miller asserts that I must submit all documents, including exhibits, as
  separate files. I allege that Ms. Miller is causing unnecessary delay and interfering with my right to access
  justice in your division. I allege that she is imposing a separate policy on me that is more burdensome than
  that of other litigants. I have been faced with delays of as long as a week to get pleadings filed, with no
  legitimate basis for the delay given.

  I don’t believe I should have a separate policy for filing documents than that of others. I know from common
  practice among attorneys that I've observed, Odyssey File Users often submit documents as one PDF with
  the exhibits appended to the file.

  In fact, if you refer to the attached document from The Illinois Court Website, called, "E-filing Guide for Self-
  Represented Litigants", it reads on page 3:
  "What are Attachments? A category of filing that is only an option in some counties and for some types of
  Filing Codes. If you don't see Attachments as an option, file everything in the Lead Document section. You
  can do that by making the Lead Document and any attachments/exhibits one PDF, and upload as a Lead
  Document. Any document that you reference in your Lead Document, but is not technically part of the Lead
  Document. They are usually called exhibits or attachments. For example, if you write an Answer in
  an eviction case saying why you shouldn't be evicted, that written explanation is the Lead
  Document. In the Answer, you reference a receipt for paying rent. The copy of the receipt could be
  labeled Exhibit or Attachment 1 and would be an Attachment, not a Lead Document."

  Please clarify the exact policy and assure me that I am given appropriate acccess to justice.

  Kind Regards,
  Megan Mason




  [Quoted text hidden]


        Odyssey File Instructions.pdf
        761K


Turyia T. Clay (Circuit Court) <ttclay@cookcountycourt.com>                                    Tue, Sep 27, 2022 at 11:10 AM
To: Megan Mason <megan42@gmail.com>, "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>, "Talitha Z. Miller (Circuit Court)" <tzmiller@cookcountycourt.com>, "Samuel Z.
Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>


  Good morning Ms. Mason:
                                       EXHIBIT
              Case: 1:22-cv-02315 Document #: 39 MM
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  Can you please provide a contact number, so we may assist you with your filings? Thank you.


  Kind regards,



  Turyia Clay
  Chief Deputy Clerk

  Domestic Relations Division

  Iris Martinez, Clerk of the Circuit Court of Cook County

  50 W Washington, Rm 802

  Chicago, IL 60602

  Tel: 312-603-6352 Fax: 312.603.6336

  ttclay@cookcountycourt.com

  Website: www.cookcountyclerkofcourt.org




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  distribution or other use of this message or any attachments by an individual or entity other than the intended recipient is prohibited.

  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                Tue, Sep 27, 2022 at 11:58 AM
To: "Turyia T. Clay (Circuit Court)" <ttclay@cookcountycourt.com>
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "Gretchen L. Peterson (Circuit
Court)" <glpeterson@cookcountycourt.com>, "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>,
"Samuel Z. Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>, "Talitha Z. Miller (Circuit Court)"
<tzmiller@cookcountycourt.com>

  Hi Ms. Clay,

  I don’t require assistance, I require my First Amendment right to petition the government. Please confirm the Record on
  Appeal will be ready on Thursday. If you have a question or would like to share resources you are welcome to do so by
  email.

  Kindly,
  Megan Mason
  [Quoted text hidden]



Turyia T. Clay (Circuit Court) <ttclay@cookcountycourt.com>                             Tue, Sep 27, 2022 at 1:37 PM
To: Megan Mason <megan42@gmail.com>, "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>
                                       EXHIBIT
              Case: 1:22-cv-02315 Document       MM 10/03/22 Page 70 of 74 PageID #:1258
                                           #: 39 Filed:
Cc: "ELIZABETH BROGAN (States Attorney)" <ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States
Attorney)" <joseph.hodal@cookcountyil.gov>, "Samuel Z. Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>,
"Talitha Z. Miller (Circuit Court)" <tzmiller@cookcountycourt.com>


  Hi Gretchen:


  Please see email below re: confirmation of Record of Appeal.


  Ms. Mason, if you need assistance with eFiling, please provide a contact number; so we may assist you and
  answer any questions you may have regarding your filing. You can also call me at 312-603-6352.
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                 Tue, Sep 27, 2022 at 2:12 PM
To: "Turyia T. Clay (Circuit Court)" <ttclay@cookcountycourt.com>
Cc: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>, "ELIZABETH BROGAN (States Attorney)"
<ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>,
"Samuel Z. Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>, "Talitha Z. Miller (Circuit Court)"
<tzmiller@cookcountycourt.com>

  Hi Ms. Clay,

  I want a written policy regarding attaching exhibits to motions, petitions and responses. I believe I am allowed to do it, as
  are other Odyssey File Users. Is it a policy that I may not? You are attempting to avoid answering this question because, I
  imagine, your employee unjustly refused to file my documents that were filed according to rules. I'm not interested in you
  "explaining" what my policy is, I'm demanding that you provide the written policy of The Clerk of the Circuit Court of Cook
  County.

  May all users, including pro se users, attach exhibits to pleadings when uploading to Odyssey File or may they not?

  May attorneys attach exhibits to pleadings when uploading to Odyssey File or may they not?

  Are you refusing to provide a written policy?

  Sincerely,
  Megan Mason
  [Quoted text hidden]



Turyia T. Clay (Circuit Court) <ttclay@cookcountycourt.com>                                     Tue, Sep 27, 2022 at 2:48 PM
To: Megan Mason <megan42@gmail.com>
Cc: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>, "ELIZABETH BROGAN (States Attorney)"
<ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>,
"Samuel Z. Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>, "Talitha Z. Miller (Circuit Court)"
<tzmiller@cookcountycourt.com>


  Hi Ms. Mason:


  In response to your email below, you should separate your documents and not include multiple documents
  as one filing. For example, if you are filing a Notice of Motion, Motion and Exhibits you should file each
  document as such. The documents should be uploaded separately, but can be filed within the same
  envelope, by selecting the correct filing code for each filing.


  It is not the desire of the Clerk’s Office to prohibit anyone from filing their documents; however, we just want
  to ensure that all filings are reflected on the docket correctly. This will allow our office to locate documents
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  easily in the event that an appeal or audit is requested on the case and we need to prepare the file.
  Hopefully, I have addressed all of your concerns and this matter is resolved. If not, please do not hesitate to
  contact me directly to further discuss any pending issues and/or concerns.
  [Quoted text hidden]



Megan Mason <megan42@gmail.com>                                                                 Tue, Sep 27, 2022 at 3:16 PM
To: "Turyia T. Clay (Circuit Court)" <ttclay@cookcountycourt.com>
Cc: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>, "ELIZABETH BROGAN (States Attorney)"
<ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>,
"Samuel Z. Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>, "Talitha Z. Miller (Circuit Court)"
<tzmiller@cookcountycourt.com>

  Hi Ms. Clay,

  Unfortunately the matter is not resolved. To make it clearer, I am putting my question in bold:

  May users of Odyssey File attach an exhibit to a pleading such as a motion, petition or response or is it
  prohibited by rule?

  Ms. Clay you are right to point out that I may not file a notice of filing attached to a pleading. This is information that I was
  able to learn reading the instructions from the state of Illinois attached here again for your reference. If your employee
  were to reject a pleading for attaching a lead document, which I learned a NOF is, then they should note as much. And
  then I could correct it. I'm talking about when they rejected a pleading because an exhibit was attached.

  I just filed a Docketing Statement with the First Appellate Court and noticed the option to add an attachment. As
  referenced in the instructions attached, in that case I could add exhibits to the document. The option is not available in the
  Domestic Relations Division Odyssey File. version According to the rules as written in the attached we are allowed to add
  the exhibits to the pleading in one pdf.

  Please confirm that I may add exhibits to pleadings and please ensure your staff follow the law in this and all matters.

  Kindly,
  Megan Mason
  [Quoted text hidden]


        Odyssey File Instructions (1).pdf
        761K


Turyia T. Clay (Circuit Court) <ttclay@cookcountycourt.com>                                     Tue, Sep 27, 2022 at 3:45 PM
To: Megan Mason <megan42@gmail.com>
Cc: "Gretchen L. Peterson (Circuit Court)" <glpeterson@cookcountycourt.com>, "ELIZABETH BROGAN (States Attorney)"
<ELIZABETH.BROGAN@cookcountyil.gov>, "JOSEPH HODAL (States Attorney)" <joseph.hodal@cookcountyil.gov>,
"Samuel Z. Williams Jr (Circuit Court)" <szwilliams@cookcountycourt.com>, "Talitha Z. Miller (Circuit Court)"
<tzmiller@cookcountycourt.com>


  Ms. Mason:


  According to your email below, you have indicated that that: As referenced in the instructions attached, in
  that case I could add exhibits to the document. The option is not available in the Domestic Relations
  Division Odyssey File. version According to the rules as written in the attached we are allowed to add the
  exhibits to the pleading in one pdf.


  If the option is not available for you the in the Odyssey eFile, you can upload your exhibits as such by
  selecting exhibits filed as the filing type. I will speak to our legal team regarding this matter. Thank you.
  [Quoted text hidden]
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                                      EXHIBIT NN


June 8, 2021 Docket
  Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 73 of 74 PageID #:1261

                                    EXHIBIT NN Continued



Pro Se Appearance on June 8, 2021 Docket
  Case: 1:22-cv-02315 Document #: 39 Filed: 10/03/22 Page 74 of 74 PageID #:1262
                                        Exhibit NN Continued



Docket as of September 30, 2022:




July 21, 2020 Pro Se Appearance on September 30, 2022 Docket:
